                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

BLYTHE MCDONNELL &                               )
SEAN MCDONNELL,                                  )
                                                 )
      Plaintiffs,                                )
                                                 )
v.                                               )    Case No: 4:17-cv-000146-DGK
                                                 )
NATIONSTAR MORTGAGE, LLC,                        )
FIELD ASSET SERVICES, LLC a/k/a                  )
ASSURANT FIELD ASSET SERVICES,                   )
SOLUTIONSTAR FIELD SERVICES, LLC,                )
SPECTRUM FIELD SERVICES, INC., AND               )
SOUND MIND REAL ESTATE, LLC,                     )
                                                 )
      Defendants.                                )

           DEFENDANT SOUND MIND REAL ESTATE, LLC’S MOTION
      TO DISMISS COUNT I OF PLAINTIFFS’ FIRST AMENDED COMPLAINT

       COMES NOW defendant, Sound Mind Real Estate, LLC, by and through its counsel, Fox

Galvin, LLC, and moves for dismissal of Count I of plaintiffs’ First Amended Complaint

pursuant to Fed.R.Civ.P. 12(b)(6). In support of defendant’s Motion to Dismiss, defendant has

filed, contemporaneously herewith, a Memorandum in Support of its Motion to Dismiss and an

Answer as to Counts II, III, IV, V and VI of plaintiffs’ First Amended Complaint.

       WHEREFORE, defendant, Sound Mind Real Estate, LLC, respectfully requests this

Court dismiss Count I of plaintiffs’ First Amended Complaint against this defendant for failure to

state a claim upon which relief may be granted, and for such other and further relief as the Court

deems just and proper.




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                                             FOX GALVIN, LLC



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                                             Sound Mind Real Estate, LLC

                                CERTIFICATE OF SERVICE

       I hereby certify that on March 29, 2018, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system which will serve the following counsel of record:

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                                                     /s/ Richard B. Korn


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